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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BASF PLANT SCIENCE, LP                             CIVIL ACTION

                     v.
                                                   NO. 17-421
NUSEED AMERICAS INC.


                                             ORDER

       AND NOW, this 1?1h day of August 2017, upon considering Defendant's Motion to

Dismiss (ECF Doc. No. 9), Plaintiffs Opposition (ECF Doc. No. 14), Defendant's Reply (ECF

Doc. No. 20) and for reasons in the accompanying Memorandum, it is ORDERED Defendant's

Motion (ECF Doc. No. 9) is GRANTED without prejudice to Plaintiff suing in a Court which

could exercise personal jurisdiction over the parties who may allegedly sue Plaintiff for patent

infringement and thus allow a potential declaratory judgment action.

       The Clerk of Court shall close this case.
